Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 1 of 24




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                CASE NO. _______________________

  CYNTHIA BUCKLEY,

                 Plaintiff,
  vs.


  SAN REMO GOLF & TENNIS CLUB
  CONDOMINIUM ASSOCIATION, INC.,

              Defendant.
  _________________________________/


                       COMPLAINT AND DEMAND FOR JURY TRIAL
                            INJUNCTIVE RELIEF SOUGHT


         COMES NOW Plaintiff, CYNTHIA BUCKLEY, by and through her undersigned counsel

  and sues the Defendant, SAN REMO GOLF & TENNIS CLUB CONDOMINIUM

  ASSOCIATION, INC., and states as follows:


                                  I. NATURE OF THE ACTION

  1.     This is a civil action brought pursuant to the federal Fair Housing Act [hereafter “FHA”],

  42 U.S.C. §§ 3601, et seq., 42 U.S.C. § 1982, for damages and injuries arising from the

  Defendant’s, SAN REMO GOLF & TENNIS CLUB CONDOMINIUM ASSOCIATION, INC.’s

  unlawful discrimination against Plaintiff, CYNTHIA BUCKLEY, a person with a disability.


                                                II. PARTIES

  2.     Plaintiff, CYNTHIA BUCKLEY [hereafter “BUCKLEY” and/or “Plaintiff”], a resident

  and citizen of Palm Beach County, Florida, is an individual with a disability that qualifies her for


                                                                                            1|Page
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 2 of 24




  the protections of the FHA. Plaintiff resides at 55201 West Club Circle, Unit 103, Boca Raton,

  Florida 33487.

  3.     Defendant, SAN REMO GOLF & TENNIS CLUB CONDOMINIUM ASSOCIATION,

  INC. [hereafter “SAN REMO” and/or “Defendant” and/or “Association”], is a Florida non-profit

  corporation, organized and operating pursuant to Chapter 718, Florida Statutes, with its primary

  place of business and current mailing address 1451 W. Cypress Creek Rd, Suite 310, Fort

  Lauderdale, FL 33309, which is responsible for administering and governing its housing complex

  pursuant to its Articles of Incorporation, Declaration of Condominium and By-Laws, its Rules and

  Regulations, and Amendments thereto. It also sets, approves, and enforces the policies, practices,

  rules, and regulations for the SAN REMO Community.

  4.     SAN REMO’s is a condominium association, the essential nature of its operations is to

  provide housing.

  5.     The condominium units governed by SAN REMO are “dwellings” within the meaning of

  42 U.S.C. § 3602(b) of the FHA.

  6.     SAN REMO is subject to the anti-discrimination provisions of the FHA and amendments

  thereto.

                                III. JURISDICTION AND VENUE

  7.     This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343, 42 U.S.C. §

  § 3601, et seq. and § 3613.

  8.     The Court has jurisdiction to declare the rights and legal relations of the parties and to order

  further relief pursuant to 28 U.S.C. §§ 2201 and 2202. The Court is authorized to issue preliminary

  injunctive relief and a temporary restraining order pursuant to Federal Rules of Civil Procedure




                                                                                              2|Page
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 3 of 24




  65(a) and 65(b), and to award relief under 42 U.S.C. § 300a-7(c) and (d), including but not limited

  to, damages and attorneys’ fees.

  9.     Venue in this Court is proper pursuant to 28 U.S.C. § 1391(b) and 28 U.S.C. § 89(c).

  because the Defendant has its principal place of business and mailing address in Broward County

  and certain events giving rise to the Plaintiff’s claims arose in Broward County which is within

  the confines of the Fort Lauderdale Division of the Southern District of Florida.

  10.    All conditions precedent to the bringing of this action by BUCKLEY have occurred, or

  their performance has been waived by Defendant.

                                  IV. FACTUAL ALLEGATIONS

  11.    BUCKLEY resides and at all times material hereto, has resided at 55201 West Club Circle,

  Unit 103, Boca Raton, Florida 33487 in a unit located within the SAN REMO community.

  12.    At all times material hereto, BUCKLEY suffered from, has a history of suffering from, and

  still suffers from a mental impairment that substantially limits one or more of her major life

  activities. Accordingly, BUCKLEY has a “handicap” pursuant to 42 U.S.C. § 3602(h), FHA.

  13.    BUCKLEY relies upon an assistance animal, a miniature Goldendoodle named “Winnie.”

  Winnie assists BUCKLEY by providing emotional support that helps BUCKLEY cope with her

  disability by alleviating one or more identified effects of her disability.

  14.    SAN REMO does not allow pets.

  15.    On or around May 17, 2023, BUCKLEY requested that SAN REMO accommodate her

  disability by waiving its no-pet restriction so that she could live in her unit with her emotional

  support animal (“ESA”). (5/17/2023 Request and Email Exchange with San Remo Property

  Manager marked and incorporated herein collectively as “Exhibit 1.”)




                                                                                           3|Page
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 4 of 24




  16.     In support of that request, BUCKLEY provided a May 17, 2023, letter from her long-time

  mental health care provider, Dorit Morecraft, whose licensures and certifications include MSN

  (Master of Science in Nursing degree), APRN (Advanced Practice Registered Nurse), and

  PMHNP-BC (Psychiatric-Mental Health Nurse Practitioner) [hereafter “PMHNP Morecraft”].

  (5/17/2023 Verification Letter is marked and incorporated herein as “Exhibit 2.”)

  17.     PMHNP Morecraft verified BUCKLEY’s disability, her disability-related need for an

  ESA, and explained how the ESA helps BUCKLEY cope with her disability. (Id.)

  18.     On May 22, 2023, SAN REMO’s agent, Property Manager Anne Ziegler, emailed

  BUCKLEY:

                 I am going to wait to send for approval until all the needed items are here
                 so please send what you have Wed. Some get certificates for the ESA
                 animal. If not, vet records and picture along with this letter is what is
                 needed. Thanks Anne

  (5/22/2023 Ziegler Email is marked and incorporated herein as “Exhibit 3.”)

  19.     On May 26, 2023, in further support of her request, BUCKLEY emailed Ziegler Winnie’s

  vet records, including proof of her vaccinations, and pictures. (Vet vaccination record is marked

  and incorporated herein as “Exhibit 4.”)

  20.     On June 5, 2023, SAN REMO, through its agent attorney Alessandra Stivelman, denied

  BUCKLEY’s request for reasonable accommodation of her disability-related need for an ESA.

  (6/5/2023 Denial Letter is marked and incorporated herein as “Exhibit 5.”)

  21.     SAN REMO purposefully conveyed its denial on law firm letterhead, sent certified mail,

  return receipt requested. (Id.)

  22.     SAN REMO’s denial was signed by a lawyer advertising she was a “Partner For the Firm.”

  (Id.)



                                                                                         4|Page
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 5 of 24




  23.    SAN REMO denial was intentionally communicated in the manner it was to intimidate

  BUCKLEY.

  24.    San Remo’s denial stated that

                 there can be criminal penalties if a person falsifies information or
                 documents, or knowingly provides fraudulent information or documents,
                 to support an emotional support animal request, or who otherwise
                 knowingly and willfully misrepresents their disability status or needs,
                 commits a misdemeanor offense in the second degree.

  (Id.) (Double emphasis in original.)

  25.    SAN REMO’s intentionally insinuated that BUCKLEY was a liar and criminal. (See id.)

  26.    SAN REMO’s denial of BUCKLEY’s accommodation was intentionally communicated in

  an intimidating and threatening manner.

  27.    An emotional support animal is not a pet.

  28.    SAN REMO refuses to acknowledge that Winnie is not a “pet.”

  29.    SAN REMO ordered BUCKLEY to “immediately remove the dog from the Unit” and

  threatened her with “further actions being taken by the Association” which included “fines,

  penalties, and/or legal proceedings” if she did not. (Id.) (Double emphasis in original.)

  30.    SAN REMO stated that its decision was made “[a]fter careful consideration and based on

  a totality of the circumstances…” (Id.)

  31.    SAN REMO’s denial decision was made and conveyed in less than five (5) business days.

  32.    SAN REMO reported in its Denial Letter that “in the process of reviewing the information

  provided in support of your request” it had conferred with BUCKLEY’s “fellow neighbors.” (Id.)

  33.    BUCKLEY’s request for reasonable accommodation to SAN REMO was based upon her

  disability and included the proffer of protected and otherwise confidential mental health

  information.

                                                                                              5|Page
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 6 of 24




  34.    An Association may not discuss, share, or reveal protected or otherwise confidential health

  information, particularly regarding mental health, provided to support a request for reasonable

  accommodation of a disability with anyone other than those directly involved in considering the

  request.

  35.    SAN REMO never contacted, interviewed, or otherwise communicated with BUCKLEY

  about her request for accommodation after her May 26th conveyance email to Property Manager

  Ziegler before denying her request.

  36.    Although SAN REMO, through its Property Agent, initially solicited BUCKLEY to “send

  what you have…[s]ome get certificates for the ESA animal,” its Denial Letter stated

                 there is currently no recognized assistance animal registration program
                 recognized under the ADA or FHA. Notwithstanding, as set forth in the
                 FHEO Notice No.: FHEO-2020-01 issued on January 28, 2020, some
                 websites sell certificates, registrations, and licensing documents for
                 assistance animals to anyone who answers certain questions or
                 participates in a short interview and pays a fee. Under the Fair Housing
                 Act, a housing provider may request reliable documentation when an
                 individual requesting a reasonable accommodation has a disability and
                 disability-related need for an accommodation that is not obvious or
                 otherwise known. However, HUD notes that in its experience, such
                 documentation from the internet is not, by itself, sufficient to reliably
                 establish that an individual has a non-observable disability or disability-
                 related need for an assistance animal. Furthermore, HUD explicitly states
                 that healthcare providers must possess personal knowledge regarding
                 their patients' disabilities and associated requirements prior to
                 endorsing such requests.

  (Id.) (emphasis in original).

  37.    PMHNP Morecraft expressly invited SAN REMO to “please contact my office” “[i]f you

  have any questions or need additional information.” (See Exhibit 2.)




                                                                                          6|Page
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 7 of 24




  38.    SAN REMO has never contacted, interviewed, or otherwise communicated with PMHNP

  Morecraft, or even attempted to contact her, about BUCKLEY’s request for accommodation or

  any other reason.

  39.    On June 8, 2023, BUCKLEY sent an email to both Property Manager Ziegler and Attorney

  Silverman requesting that SAN REMO reconsider its denial and contact her and stating:

                 We have been visiting Ohio since May 27th. I will not be back
                 until the end of June.

                 I have complied with all the standard regulations for an ESA. I
                 meet the qualifications for accommodation according to my long-
                 time (since 2021) mental health provider. The dog has been
                 registered in my name as an ESA animal with US Service Dogs.

                 I formally ask you to rethink your letter and acknowledge my
                 right to an ESA in my home, as the law is clearly in my favor. I
                 have attached the original letter from my personal licensed
                 provider for your convenience. This should be all that you need;
                 however, please let me know if there is any additional information
                 that you need. This is specifically important since no one has
                 reached out to me personally with any questions prior to denying
                 my ESA information. The information in the letter and my need
                 for an ESA has protected information and should not be
                 discussed with anyone else as specified in Hippa regulations.

  (1st Reconsideration Request is attached and incorporated herein as “Exhibit 6.”)

  40.    SAN REMO did not respond.

  41.    On June 12, 2023, BUCKLEY, distraught over the denial, sent another email to both

  Property Manager Ziegler and Attorney Silverman, again requesting that SAN REMO reconsider

  its denial and contact her stating:

                 Thank you for taking the time to review my request and write
                 your response. I am writing this letter to address your
                 delay/denial and persist in requesting reasonable accommodation
                 for my disability.

                                                                                      7|Page
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 8 of 24




                My provider is not an online ESA letter provider, and I did not
                pay for my letter. I paid for mental health services and met the
                criteria for a disability. My mental health provider has knowledge
                of my past trauma and has prescribed an ESA to help me. I used
                my long-time provider, who has treated me for several years. She
                is a qualified licensed professional, and this should not be
                confused with companies that just sell a letter. I did not buy
                anything, I paid for my counseling session, as I would pay for any
                service with a doctor, dentist or any professional. Buying a
                prescription is not how I got my letter. My provider did a full
                evaluation to determine my needs and if my animal could help with
                my diagnosed disability.

                I provided you an ESA letter from a licensed professional. I have
                added information below regarding her licensure and validation.
                As stated by the FHEO2020-01….“One reliable form of
                documentation is a note from a person’s health care professional
                that confirms a person’s disability and/or need for an animal
                when the provider has personal knowledge of the individual”.
                FHEO                2020-01                page                11
                htps://www.hud.gov/sites/dfiles/PA/documents/HUDAsstAnim
                alNC1-28-2020.pd

                More Provider Information

                Dorit Morecraft,          MSN,      APRN,      PMHNP-BC        FL    Lic#
                APRN9492734

                Success TMS 1325 S. Congress Ave Ste 200, Boynton Beach, FL
                33426 561-332-3285

                License information can be found at this site: htps://mqa-
                internet.doh.state.fl.us/MQASearchServices/HealthCareProvid
                ers…

  (6/12/2023 2nd Reconsideration Request is attached and incorporated herein as Exhibit 7.”)

  42.    Again SAN REMO failed to respond.




                                                                                        8|Page
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 9 of 24




  43.    Thereafter BUCKLEY retained legal counsel who sent a letter on June 21, 2023, on

  BUCKLEY’s behalf to SAN REMO’s agent, Attorney Stivelman, again requesting SAN REMO

  reconsider its denial decision and requesting a response by June 28, 2023:

                 I hope this correspondence finds you well. I have been retained by
                 Cynthia Buckley to address the denial of her request for accommodation
                 for an emotional support animal. As you are aware, on May 25, 2023, my
                 client requested that San Remo Golf & Tennis Club Condominium
                 Association Inc. waive its pet restriction as an accommodation of her
                 disability.

                 It would appear that San Remo Golf & Tennis Club Condominium
                 Association Inc. has already violated the Fair Housing Act in multiple
                 ways. First, by discussing Ms. Buckley’s request for accommodation with
                 my client’s “fellow neighbors” her rights of privacy have been violated.
                 Ms. Buckley’s disability-related request for accommodation should never
                 have been discussed with anyone except those directly involved in
                 considering her accommodation request.

                 Second, if San Remo Golf & Tennis Club Condominium Association Inc.
                 was skeptical of the legitimacy of Ms. Buckley’s disability or need for an
                 accommodation, it was obligated to request additional documentation or
                 open a dialogue rather than immediately refusing the requested
                 accommodation. Bhogaita v. Altamonte Heights Condo. Ass'n, 765 F.3d
                 1277, 1287 (11th Cir. 2014), citing Jankowski Lee & Associates v.
                 Cisneros, 91 F.3d 891, 895 (7th Cir. 1996).

                 Finally, in addition to flatly denying Ms. Buckley’s requested
                 accommodation, the Association caused a threatening letter to be sent to
                 Ms. Buckley warning “that the law also states that there can be criminal
                 penalties if a person falsifies information or documents, or knowingly
                 provides fraudulent information or documents, to support an emotional
                 support animal request, or who otherwise knowingly and willfully
                 misrepresents their disability status or needs, commits a misdemeanor
                 offense in the second degree.” (emphasis in the original) The Association
                 cannot prosecute a person for a crime and had no obligation to provide
                 Ms. Buckley legal advice. The Association’s gratuitous legal advice along
                 with the demand that she immediately remove her emotional support
                 animal or face “fines, penalties, and/or legal proceedings” are clearly an
                 illegal attempt to intimidate Ms. Buckley into not pursuing her fair
                 housing rights.

                 Your letter incorrectly insinuates that Ms. Buckley has proffered a letter she
                 purchased from the internet. To the contrary, she has been treating with

                                                                                            9|Page
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 10 of 24




                  Dorit Morecraft for a year and a half. The letter written by Ms. Morecraft
                  verifies that Ms. Buckley has a condition that ‘substantially limits several
                  major life activities,’ and explains how living with Winnie helps ameliorate
                  the symptoms of Ms. Buckley’s disability. Accordingly, San Remo Golf &
                  Tennis Club Condominium Association Inc. has been provided more than
                  sufficient information regarding Ms. Buckley’s need for an accommodation
                  and I look forward to prompt confirmation that any restrictions that would
                  prevent Ms. Buckley from living with her dog Winnie for emotional support
                  animal will be waived for as long as Ms. Buckley is a resident of San Remo
                  Golf & Tennis Club Condominium Association Inc. If such confirmation
                  has not been provided by June 28, 2023, I will take legal action on Ms.
                  Buckley’s behalf.

   (6/21/2023 Attorney Request for Reconsideration is attached and marked as “Exhibit 8.”)

   44.    Although Attorney Stivelman initially responded on June 28, 2023 (a day before the

   deadline) requesting “two more weeks to reply” (i.e., through July 11, 2023) which was granted,

   there has been no further reply or communication from her or by any other SAN REMO agent. (6-

   7/2023 Email Exchange No Response is attached and marked as “Exhibit 9.”)

   45.    SAN REMO has intentionally and unlawfully discriminated against BUCKLEY by

   denying her request for reasonable accommodation of her disability-related need for her emotional

   support animal, Winnie.

   46.    SAN REMO has intentionally and unlawfully discriminated against BUCKLEY by

   refusing to acknowledge that her emotional support animal, Winnie, is not a pet.

   47.    SAN REMO has intentionally and unlawfully discriminated against BUCKLEY by

   sending her a letter through its attorney threatening legal action, imposition of attorney’s fees and

   costs, criminal penalties, and the permanent removal of her assistance animal.

   48.    SAN REMO has intentionally and unlawfully intimidated and harassed BUCKLEY by

   sending her a letter on law firm letterhead signed by a “Partner with the Firm” threatening criminal

   penalties, legal action, imposition of attorney’s fees and costs, and the permanent removal of her

   assistance animal and insinuating that BUCKLEY is a criminal and a liar.

                                                                                            10 | P a g e
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 11 of 24




   49.       SAN REMO has intentionally and unlawfully discriminated against BUCKLEY by

   pointedly engaging in conversations or otherwise conferring with BUCKLEY’s “neighbors” about

   BUCKLEY’s ESA.

   50.       SAN REMO has intentionally and unlawfully discriminated against BUCKLEY by

   pointedly engaging in conversations or otherwise questioning BUCKLEY’s “neighbors” about

   BUCKLEY’s request for reasonable accommodation.

   51.       Granting BUCKLEY’s request for reasonable accommodation of her disability-related

   need for her ESA by waiving its “no pet” policy would not pose any financial or administrative

   burden on SAN REMO.

   52.       Granting BUCKLEY’s request for reasonable accommodation of her disability-related

   need for her ESA by waiving its “no pet” policy would not pose an undue financial and

   administrative burden on SAN REMO.

   53.       Granting BUCKLEY’s request for reasonable accommodation of her disability-related

   need for her ESA by waiving its “no pet” policy would not fundamentally alter the essential nature

   of SAN REMO’s operations as a housing provider.

   54.       Granting BUCKLEY’s request for reasonable accommodation of her disability-related

   need for her ESA by waiving its “no pet” policy would not pose a threat to the health or safety of

   others.

   55.       SAN REMO has no evidence or information that granting BUCKLEY’s request for

   reasonable accommodation of her disability-related need for her ESA by waiving its “no pet”

   policy poses a threat to the health or safety of others.




                                                                                          11 | P a g e
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 12 of 24




   56.    Granting BUCKLEY’s request for reasonable accommodation of her disability-related

   need for her ESA by waiving its “no pet” policy would not result in significant physical damage

   to the property of others.

   57.    SAN REMO has no evidence or information that granting BUCKLEY’s request for

   reasonable accommodation of her disability-related need for her ESA by waiving its “no pet”

   policy would result in significant physical damage to the property of others.

   58.    SAN REMO neither opened a dialogue with BUCKLEY nor sought additional information

   regarding BUCKLEY’s disability-related need for an accommodation, but instead denied her

   request and threatened legal action if BUCKLEY did not capitulate to SAN REMO’s demand for

   the immediate and permanent removal of BUCKLEY’s emotional support animal.

   59.    At all times material, SAN REMO was aware or should have been aware of BUCKLEY’s

   disability and that her dog is an emotional support animal.

   60.    At no point did any agent or other representative of SAN REMO speak to BUCKLEY

   regarding SAN REMO’s communications with her “fellow neighbors” about her emotional

   support animal.

   61.    At no point did any agent or other representative of SAN REMO speak to, or attempt to

   speak to, BUCKLEY’s health care provider, PMHNP Morecraft.

   62.    The heavy-handed and unduly aggressive nature of SAN REMO’s one-sided

   communications to BUCKLEY regarding her request, coupled with its denial of that request, have

   caused BUCKLEY to be anxious, depressed, and feel unwelcome in her own home as well as

   constantly fear the loss of her emotional support animal.

   63.    SAN REMO’s actions regarding BUCKLEY’s emotional support animal has culminated

   in BUCKLEY being commanded to choose between her home or her assistance animal.



                                                                                       12 | P a g e
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 13 of 24




   64.       SAN REMO’s actions were, and continue to be intentional, deliberate, willful, and in total

   and reckless disregard of BUCKLEY's rights and show total indifference to BUCKLEY's

   disability.

   65.       SAN REMO’s actions are motivated by evil motive or intent, or involve reckless or callous

   indifference to BUCKLEY’s federally-protected rights insofar as SAN REMO’s knowledge that

   its action are in violation of federal law.

   66.       BUCKLEY has been injured by SAN REMO’s discriminatory housing practices and

   therefore qualifies as an “aggrieved person” pursuant to 42 U.S.C. § 3602(i).

   67.       As a direct and proximate result of SAN REMO’s conduct, BUCKLEY has incurred and

   continues to incur attorney’s fees, and has suffered and continues to suffer irreparable loss and

   injury including, but not limited to, mental anguish, loss of dignity, emotional distress, humiliation,

   and loss of her right to equal housing opportunities regardless of disability.

   68.       BUCKLEY retained undersigned counsel and is obligated to pay a reasonable fee for their

   services.

                                        V. CAUSES OF ACTION

                                 COUNT I
          MAKING A DWELLING UNAVAILABLE ON ACCOUNT OF DISABILITY

   69.       BUCKLEY re-alleges and incorporates by reference Paragraphs 1-68 as if fully set forth

   herein.

   70.       BUCKLEY is disabled by virtue of a mental impairment which substantially limits one or

   more of her major life activities.

   71.       BUCKLEY has a disability-related need to live with her emotional support animal, Winnie,

   in order to have the same opportunity to use and enjoy her dwelling at SAN REMO as any non-

   disabled resident.

                                                                                              13 | P a g e
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 14 of 24




   72.     BUCKLEY requested that SAN REMO waive its no pet policy so that she may reside with

   her emotional support animal.

   73.     SAN REMO was provided reliable verification of BUCKLEY’s disability and disability-

   related need to live with Winnie.

   74.     SAN REMO, fully knowing of BUCKLEY’S disability-related need to live with her

   assistance animal nonetheless commanded that BUCKLEY remove her assistance animal or face

   legal action and be forced to pay SAN REMO’s legal fees inter alia.

   75.     SAN REMO had actual knowledge of BUCKLEY’s disability and disability-related need

   to live with Winnie.

   76.     SAN REMO’s actions and conduct constitute a conscious and reckless disregard for

   BUCKLEY’s rights and show total indifference for her disability.

   77.     The foregoing conduct and acts of Defendant constitute discrimination against a person

   with a disability in violation of 42 U.S.C.§ 3604(f)(l)(A), FHA, by making a dwelling unavailable

   because of a handicap.

   78.     As a result of the Defendant’s conduct, Plaintiff has suffered damages.

   79.     The discriminatory conduct and actions of Defendant were intentional, willful, and taken

   in blatant disregard for the Plaintiff’s rights.

   80.     As a direct and proximate result of SAN REMO’s discriminatory conduct, BUCKLEY has

   suffered irreparable loss and injury including, but not limited to, mental anguish, loss of dignity,

   emotional distress, humiliation, and loss of her right to equal housing opportunities regardless of

   disability.

           WHEREFORE, Plaintiff, CYNTHIA BUCKLEY, demands judgment against Defendant,

   SAN REMO GOLF & TENNIS CLUB CONDOMINIUM ASSOCIATION, INC., declaring that



                                                                                           14 | P a g e
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 15 of 24




   the actions of SAN REMO GOLF & TENNIS CLUB CONDOMINIUM ASSOCIATION, INC.

   violated, inter alia, the Fair Housing Act/Fair Housing Amendments Act by discriminating against

   a person with a disability, and awarding Plaintiff compensatory damages, punitive damages,

   attorneys' fees and costs, and injunctive relief, as well as any other such relief as this Court deems

   just and equitable.

                                        COUNT 2
                             ILLEGAL INTIMIDATION OF PLAINTIFF
                       BECAUSE SHE EXERCISED HER FAIR HOUSING RIGHTS

   81.       Plaintiff re-alleges and incorporates by reference Paragraphs 1-68 as if fully set forth

   herein.

   82.       It is unlawful “to coerce, intimidate, threaten, or interfere with any person in the exercise

   or enjoyment of, or on account of his having exercised or enjoyed, or on account of his having

   aided or encouraged any other person in the exercise or enjoyment of, any right granted or

   protected by section 42 U.S.C.S. §§ 3603, 3604, and 3606; 42 U.S.C. § 3617.

   83.       SAN REMO has engaged in a pervasive, intentional, and unlawfully discriminatory course

   of conduct intended to intimidate BUCKLEY into abandoning her fair housing rights, including

   but not limited to:

             a. Responding to BUCKLEY’s request for reasonable accommodation of her disability-

                related need for her emotional support animal with a threatening letter from an attorney;

             b. Responding to BUCKLEY’s request for reasonable accommodation of her disability-

                related need for her emotional support animal with a letter on a law firm letterhead

                signed by a “Partner For the Firm” threatening “criminal penalties” and insinuating that

                BUCKLEY is a liar;




                                                                                              15 | P a g e
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 16 of 24




           c. Communicating with BUCKLEY’s neighbors and otherwise culling their involvement

               in evaluation of BUCKLEY’s disability, request, and disability-related need for her

               emotional support animal;

           d. Sharing protected and otherwise confidential health information, including mental

               health information, with persons not involved with the decision to approve

               BUCKLEY’s request for reasonable accommodation of her disability-related need for

               her emotional support animal;

           e. Demanding that BUCKLEY permanently remove her emotional support animal; and

           f. Flatly rejecting perfectly adequate verification of BUCKLEY’s disability-related need

               for an accommodation.

   84.     SAN REMO, through its conduct and action described above, violated 42 U.S.C. § 3617

   of the FHA by coercing, intimidating, threatening, or interfering with BUCKLEY in the exercise

   and enjoyment of her fair housing rights and creating an environment hostile to a person with a

   disability-related need for an emotional support animal.

   85.     The discriminatory conduct of SAN REMO was intentional, willful, and taken in disregard

   for Plaintiff's rights.

   86.     As a direct and proximate result of the Defendant's conduct, the Plaintiff has incurred and

   continues to incur attorney’s fees, and suffered and continues to suffer irreparable loss and injury

   including, but not limited to, mental anguish, loss of dignity, emotional distress, humiliation, and

   loss of her right to equal housing opportunities regardless of disability.

           WHEREFORE, Plaintiff, CYNTHIA BUCKLEY, demands judgment against Defendant,

   SAN REMO GOLF & TENNIS CLUB CONDOMINIUM ASSOCIATION, INC., declaring that

   the actions of SAN REMO GOLF & TENNIS CLUB CONDOMINIUM ASSOCIATION, INC.



                                                                                           16 | P a g e
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 17 of 24




   violated, inter alia, the Fair Housing Act/Fair Housing Amendments Act by discriminating against

   a person with a disability, and awarding Plaintiff compensatory damages, punitive damages,

   attorneys' fees and costs, and injunctive relief, as well as any other such relief as this Court deems

   just and equitable.

                                            COUNT 3
                                   FAILURE TO ACCOMMODATE

   87.     Plaintiff re-alleges and incorporate by reference Paragraphs 1-68 as if fully set forth herein.

   88.     BUCKLEY suffers from and has a history of suffering from disabilities that substantially

   limit one or more of her life activities.

   89.     BUCKLEY obtained an emotional support animal help ameliorate the symptoms of her

   disabilities.

   90.     BUCKLEY has a disability-related need to live with her emotional support animal in

   order to have equal use and enjoyment of her unit in SAN REMO.

   91.     BUCKLEY requested that SAN REMO waive its pet restrictions so that she may reside

   with her emotional support animals.

   92.     SAN REMO was provided credible documentation establishing BUCKLEY’s disability

   and that the animal in question would provide disability-related emotional support.

   93.     SAN REMO had actual knowledge of BUCKLEY’s disability- related need to live with

   her emotional support animal.

   94.     The requested accommodation is necessary so that BUCKLEY can have an equal

   opportunity to use and enjoy her dwelling as do non-disabled SAN REMO residents.

   95.     SAN REMO has made no effort to engage in a good faith dialogue with BUCKLEY or

   her mental health care provider regarding BUCKLEY’s need for an accommodation.




                                                                                              17 | P a g e
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 18 of 24




   96.     SAN REMO has refused to accommodate BUCKLEY’s disability, and instead

   commanded that her emotional support animal be immediately removed and threatened

   BUCKLEY with fines and legal actions if she did not capitulate.

   97.     Accommodating BUCKLEY’s need to reside with Winnie for emotional support would

   not: 1) result in substantial physical damage to the property of others or that of SAN REMO; 2)

   pose an undue financial and administrative burden to SAN REMO; or 3) fundamentally alter the

   nature of SAN REMO’s operations as a housing provider.

   98.     SAN REMO’s refusal to waive its no pet policy to accommodate BUCKLEY’s disability

   is discriminatory and unlawful.

   99.     SAN REMO’s actions and conduct constitute a conscious and reckless disregard for

   BUCKLEY’s rights and show total indifference to BUCKLEY’s disabilities.

   100.    SAN REMO violated 42 U.S.C. § 3604(f)(3)(B) by refusing to make reasonable

   accommodations in its rules, policies, practices, or services when such accommodations are

   necessary to afford BUCKLEY an equal opportunity to use and enjoy a dwelling.

   101.    The discriminatory conduct of SAN REMO was intentional, willful, and taken in total

   disregard for BUCKLEY’s rights.

   102.    As a direct and proximate result of SAN REMO’s failure to accommodate, BUCKLEY

   suffered irreparable loss and injury including, but not limited to, mental anguish, loss of dignity,

   emotional distress, humiliation, and loss of her right to equal housing opportunities regardless of

   disability.

          WHEREFORE, Plaintiff CYNTHIA BUCKLEY demands judgment against Defendant

   SAN REMO GOLF & TENNIS CLUB CONDOMINIUM ASSOCIATION, INC., declaring that

   SAN REMO GOLF & TENNIS CLUB CONDOMINIUM ASSOCIATION, INC. violated the



                                                                                            18 | P a g e
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 19 of 24




   Fair Housing Amendments Act by discriminating against a person with disabilities, and

   awarding CYNTHIA BUCKLEY compensatory and punitive damages, attorneys' fees and costs,

   as well as any other such relief as this Court deems just and equitable.


                                    COUNT 4
          INVASION OF PRIVACY/PUBLIC DISCLOSURE OF PROTECTED MENTAL
                             HEALTH INFORMATION

   103.    Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 68, as if fully set

   forth herein.

   104.    The discriminatory and tortious actions of Defendant in the above federal claims are so

   related to the state claim that they are part of the same case or controversy under Article III of the

   United States Constitution. 28 U.S.C. § 1367(a).

   105.    At all times material hereto, the Defendant intentionally disclosed, published to, revealed,

   and/or otherwise discussed with BUCKLEY’s “fellow neighbors” in the SAN REMO Community

   that BUCKLEY requested a waiver of SAN REMO’s no pet policy so that she could have an

   emotional support animal. Given the stigma that attaches to mental illness, publicizing that a

   resident suffers from a mental illness would be highly offensive to a reasonable person.

   106.    The disclosure or discussion was made or done with the knowledge it would cause

   BUCKLEY severe emotional distress, or Defendant’s actions were recklessly indifferent to the

   likelihood that the outrageous act of disclosing or discussion BUCKLEY’s mental illness to the

   SAN REMO Community would cause the Plaintiffs severe emotional distress.

   107.    The Defendant disclosed BUCKLEY’s diagnosis without ever consulting with the

   BUCKLEY or BUCKLEY’S health care provider.

   108.    The sole purpose of PMHNP Morecraft’s detailed prescription and letter was to inform the

   Association of BUCKLEY’s mental illness and related need for an ESA. Pursuant to federal


                                                                                             19 | P a g e
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 20 of 24




   guidance regarding reasonable accommodations, information verifying a disability-related need

   for an accommodation “must be kept confidential and must not be shared with other persons unless

   they need the information to make or assess a decision to grant or deny a reasonable

   accommodation request or unless disclosure is required by law (e.g., a court-issued subpoena

   requiring disclosure).” 1

   109.    BUCKLEY’s disability and the details of her request for an accommodation are not a

   legitimate concern of other residents of the SAN REMO Community.

   110.    The Association’s unauthorized and public disclosure that BUCKLEY desires to reside

   with an emotional support animal was a complete violation of BUCKLEY’s privacy; its actions

   were outrageous and beyond all bounds of decency to be regarded as odious and utterly intolerable

   in a civilized community.

   111.    There is no justification to reveal BUCKLEY’s request for an accommodation to anyone

   not serving on the Association’s Board of Directors.

   112.    There is no justification to reveal BUCKLEY’s request for an accommodation to anyone

   in any setting or forum which risks disclosure of private health information, particularly mental

   health information, and particularly in a non-confidential setting.

   113.    It is foreseeable that disclosing BUCKLEY’s desire for an emotional support animal to her

   neighbors would exacerbate her existing emotional disability and/or create new emotional distress,

   causing severe emotional distress.




   1
    Joint Statement of the Department of Housing and Urban Development and the Department of
   Justice, Reasonable Accommodations Under the Fair Housing Act (May 14, 2004), at
   https://www.justice.gov/crt/us-department-housing-and-urban-development, last visited July 28,
   2023.

                                                                                          20 | P a g e
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 21 of 24




   114.   It is foreseeable that publishing to, revealing, and/or otherwise discussing with

   BUCKLEY’s “fellow neighbors” in the SAN REMO Community her request for request for an

   accommodation of SAN REMO’s no pet policy and/or her disability-related need for Winnie

   would exacerbate her existing emotional disability and/or create new emotional distress, causing

   severe emotional distress.

   115.   It is foreseeable that soliciting, culling, or encouraging BUCKLEY’s “fellow neighbors”

   in the SAN REMO Community to discuss BUCKLEY’s request for request for an accommodation

   of SAN REMO’s no pet policy and/or her disability-related need for Winnie and/or Winnie would

   exacerbate her existing emotional disability and/or create new emotional distress, causing severe

   emotional distress and would incite or encourage those neighbors to further discuss same with

   others in and outside of the SAN REMO Community.

   116.   It is foreseeable that disclosing BUCKLEY’s request for an accommodation for an

   emotional support animal in a non-confidential setting would exacerbate her existing emotional

   disability and/or create new emotional distress, causing severe emotional distress.

   117.   As a direct and proximate result of Defendant’s disclosure, publishing to, revealing, and/or

   otherwise discussing, soliciting, culling, and/or encouraging discussion of BUCKLEY’s protected

   mental health information with her “fellow neighbors,” she has suffered severe emotional distress.

          WHEREFORE, Plaintiff, CYNTHIA BUCKLEY, demands judgment against Defendant,

   SAN REMO GOLF & TENNIS CLUB CONDOMINIUM ASSOCIATION, INC., for damages

   for intentional infliction of emotional distress, and awarding BUCKLEY compensatory and

   punitive damages, attorneys’ fees and costs, as well as any other such relief as this Court deems

   just and equitable.

                         VI. THIS COURT’S POWER TO GRANT RELIEF



                                                                                          21 | P a g e
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 22 of 24




   118.   Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 68, as if fully set

   forth herein.

   119.   Plaintiff has suffered and incurred irreparable damage, and continues to suffer and incur

   irreparable damage.

   120.   The FHA and Rule 65 of the Federal Rules of Civil Procedure, collectively and singularly,

   empower this Court to grant a temporary restraining order, preliminary injunctive and permanent

   injunctive relief, and/or such other relief as the Court may deem appropriate to hold and redress

   the violations of any provision of law enforced by the FHA. The Court, in the exercise of its

   equitable jurisdiction may award financial relief, accommodation directives, policy modification,

   and restoration of access privileges to prevent and remedy any violation of any provision of law

   enforced by the FHA

                                     VII. PRAYER FOR RELIEF

          WHEREFORE, Plaintiff CYNTHIA BUCKLEY, demands judgment against Defendant,

   SAN REMO GOLF & TENNIS CLUB CONDOMINIUM ASSOCIATION, INC., and

   respectfully requests that this Court enter an Order:

          a) declaring that the actions of SAN REMO GOLF & TENNIS CLUB CONDOMINIUM

             ASSOCIATION, INC. violated, inter alia, the Fair Housing Act/Fair Housing

             Amendments Act by discriminating against a person with a disability;

          b) issuing a temporary restraining order and preliminary injunction immediately enjoining

             and prohibiting SAN REMO GOLF & TENNIS CLUB CONDOMINIUM

             ASSOCIATION, INC., including but not limited to its Association members, future

             members, Board of Directors, Officers, property managers, employees, agents,

             volunteers, interns, attorneys, and representatives from removing, tampering with,



                                                                                          22 | P a g e
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 23 of 24




           altering, inhibiting, precluding, depriving, limiting, or otherwise interfering with

           BUCKLEY’s residency and/or presence of her emotional support animal at SAN

           REMO GOLF & TENNIS CLUB CONDOMINIUM ASSOCIATION, INC.;

        c) issuing a temporary restraining order and preliminary injunction immediately enjoining

           and prohibiting SAN REMO GOLF & TENNIS CLUB CONDOMINIUM

           ASSOCIATION, INC., including but not limited to its Association members, future

           members, Board of Directors, Officers, property managers, employees, agents,

           volunteers, interns, attorneys, and representatives from discussing BUCKLEY’s

           disability with any person or entity not directly involved with the decision to grant her

           request for reasonable accommodation of her disability-related need for an emotional

           support animal;

        d) entering a permanent injunction enjoining and prohibiting Defendant SAN REMO,

           GOLF & TENNIS            CLUB CONDOMINIUM ASSOCIATION,                      INC. from

           discriminating against any person based upon handicap by refusing to make a reasonable

           accommodation when such accommodation may be necessary to afford a person with a

           handicap and equal right to enjoy a dwelling;

        e) requiring Defendant SAN REMO GOLF & TENNIS CLUB CONDOMINIUM

           ASSOCIATION, INC. to notify and distribute, in writing to each and every resident of

           the SAN REMO GOLF & TENNIS CLUB CONDOMINIUM ASSOCIATION, INC.

           Community a legal statement enumerating its residents’ FHA rights with respect to,

           among other things, disability-related accommodations and emotional assistance

           animals;




                                                                                        23 | P a g e
Case 0:23-cv-61490-WPD Document 1 Entered on FLSD Docket 08/03/2023 Page 24 of 24




          f) awarding to Plaintiff such damages as would fully compensate her for her injuries

              caused by SAN REMO GOLF & TENNIS CLUB CONDOMINIUM ASSOCIATION,

              INC.’s discriminatory conduct;

          g) awarding to Plaintiff such damages as would fully compensate her for her injuries

              caused by SAN REMO GOLF & TENNIS CLUB CONDOMINIUM ASSOCIATION,

              INC.’s conduct associated with disclosure, publishing to, revealing, and/or otherwise

              discussing, soliciting, culling, and/or encouraging discussion of BUCKLEY’s protected

              mental health information with and among her “fellow neighbors”;

          h) awarding to Plaintiff punitive damages;

          i) awarding to Plaintiff her attorney’s fees and costs incurred in bringing this action and

              associated and affiliated with enforcement of the FHA and otherwise associated with

              her protection thereunder; and

          j) granting all other such relief as this Court deems just and equitable.



                                  VIII. DEMAND FOR JURY TRIAL

   Plaintiff demands a jury trial for all issues so triable.

           VENZA LAW, PLLC                                 MARCY I. LAHART, P.A.
           931 Village Boulevard, #905-322                 249 SE Tuscawilla Road
           West Palm Beach, FL 33409                       Micanopy, FL 32667
           Office: (561) 596-6329                          Telephone: (352) 224-5699
           Email: dvenza@venzalawpllc.com                  Facsimile: (888) 400-1464
                                                           Email: marcy@floridaanimallawyer.com

           BY: s/ Denese Venza                             BY: s/ Marcy I. LaHart
           Denese Venza, Esq.                              Marcy I. LaHart, Esq.
           Florida Bar No. 599220                          Florida Bar No. 0967009
           Counsel for Plaintiff                           Counsel for Plaintiff




                                                                                          24 | P a g e
